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                        Exhibit A

                      Proposed Order
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                        Chapter 11

    BOY SCOUTS OF AMERICA AND                                     Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC1
                                                                  (Jointly Administered)
                     Debtors.
                                                                  Ref. Docket No.


       DEBTORS’ SECOND OMNIBUS (SUBSTANTIVE) OBJECTION TO
    CERTAIN (I) CROSS-DEBTOR DUPLICATE CLAIMS, (II) SUBSTANTIVE
DUPLICATE CLAIMS, (III) NO LIABILITY CLAIMS, (IV) MISCLASSIFIED CLAIMS,
       AND (V) REDUCE AND ALLOW CLAIMS (NON-ABUSE CLAIMS)

             Upon the Debtors’ Second Omnibus (Substantive) Objection to Certain (I) Cross-Debtor

Duplicate Claims, (II) Substantive Duplicate Claims, (III) No Liability Claims, (IV) Misclassified
                                                                               2
Claims, and (V) Reduce and Allow Claims (the “Objection”), of the debtors and debtors in

possession (together, the “Debtors”) in the above-captioned chapter 11 cases, pursuant to

Bankruptcy Code sections 105 and 502, Bankruptcy Rule 3007, and Local Rule 3007-1; and the

Court having jurisdiction to consider the Objection and the relief requested therein in accordance

with 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the United

States District Court for the District of Delaware, dated as of February 29, 2012; and consideration

of the Objection and the relief requested therein being a core proceeding in accordance with

28 U.S.C. § 157(b)(2); and venue being proper in this District pursuant to 28 U.S.C. §§ 1408 and

1409; and notice of the Objection being adequate and appropriate under the particular

circumstances; and the Court having considered the Phillips Declaration and found and determined



1
 The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
2
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Objection.


                                                           1
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that the relief sought in the Objection is in the best interests of the Debtors, the Debtors’ estates

and creditors, and other parties in interest and that the legal and factual bases set forth in the

Objection establish just cause for the relief granted herein; and after due deliberation and sufficient

cause appearing therefor,

       IT IS HEREBY ORDERED THAT:

       1.      The Objection is sustained as provided herein.

       2.      Any Response to the Objection not otherwise withdrawn, resolved, or adjourned is

overruled on the merits.

       3.      Each Cross-Debtor Duplicate Claim listed in the column titled “Cross-Debtor

Duplicate Claim to be Disallowed” identified on Schedule 1 hereto is disallowed and expunged in

its entirety. The Duplicate Claims listed in the column titled “Correct Debtor” identified on

Schedule 1 hereto shall remain on the Claims Register, subject to the Debtors’ further objections

on any substantive or non-substantive grounds and further order of the Court.

       4.      Each Substantive Duplicate Claim listed in the column titled “Substantive

Duplicate Claim to be Disallowed” identified on Schedule 2 hereto is disallowed and expunged in

entirety. The Duplicate Claims listed in the column titled “Surviving Claim” identified on

Schedule 2 hereto shall remain on the Claims Register, subject to the Debtors’ further objections

on any substantive or non-substantive grounds and further order of the Court.

       5.      Each No Liability Claim identified on Schedule 3 hereto is disallowed and

expunged in its entirety.

       6.      Each Misclassified Claim identified on Schedule 4 hereto is reclassified as set forth

on Schedule 4 under the column titled “Corrected.” Each Misclassified Claim is subject to the




                                                  2
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Debtors’ further objections on any substantive or non-substantive grounds and further order of the

Court.

         7.      Each Reduce and Allow Claim identified on Schedule 5 hereto is reduced as set

forth on Schedule 4 under the column titled “Modified.”

         8.      The objection by the Debtors to the Disputed Claims, as addressed in the Objection

and the schedules hereto, constitutes a separate contested matter with respect to each such claim,

as contemplated by Bankruptcy Rule 9014 and Local Rule 3007-1. This Order shall be deemed a

separate Order with respect to each Duplicate Claim.

         9.      Any stay of this Order pending appeal by any holder of a Disputed Claim or any

other party with an interest in such claims that are subject to this Order shall only apply to the

contested matter which involves such party and shall not act to stay the applicability and/or finality

of this Order with respect to the other contested matters arising from the Objection or this Order.

         10.     The Debtors, Omni, and the Clerk of this Court are authorized to modify the official

Claims Register for these chapter 11 cases in compliance with the terms of this Order and to take

all steps necessary or appropriate to carry out the relief granted in this Order.

         11.     Nothing in this Order or the Objection is intended or shall be construed as a waiver

of any of the rights the Debtors may have to enforce rights of setoff against the claimants.

         12.     Nothing in the Objection or this Order, nor any actions or payments made by the

Debtors pursuant to this Order, shall be construed as: (a) an admission as to the amount of, basis

for, or validity of any claim against the Debtors under the Bankruptcy Code or other applicable

nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s right to dispute

any claim; (c) a promise or requirement to pay any particular claim; (d) an implication or admission

that any particular claim is of a type specified or defined in this Order; (e) an admission as to the




                                                  3
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validity, priority, enforceability, or perfection of any lien on, security interest in, or other

encumbrance on property of the Debtors’ estates; or (f) a waiver of any claims or causes of action

which may exist against any entity under the Bankruptcy Code or any other applicable law.

       13.     This Order is immediately effective and enforceable.

       14.     The Court shall retain jurisdiction to hear and determine all matters arising from or

related to the implementation, interpretation and/or enforcement of this Order.




                                                 4
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                        Schedule 1

               Cross-Debtor Duplicate Claims
                                                   Case 20-10343-LSS                 Doc 2020-1            Filed 02/03/21           Page 7 of 24


                                                                     Second Omnibus Objection (Substantive)
                                                                    Schedule 1 - Cross-Debtor Duplicate Claims
                  CROSS-DEBTOR DUPLICATE CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIM

                               DATE          CASE NUMBER /                                                                              DATE           CASE NUMBER /
           NAME                FILED            DEBTOR                CLAIM #      CLAIM AMOUNT                    NAME                 FILED             DEBTOR               CLAIM #      CLAIM AMOUNT
1 JOSEPH S. COCO               10/13/20   Delaware BSA, LLC            C342-17                $ 16,005.97 COCO, JOSEPH S                07/13/20    Boy Scouts of America      C343-403               $ 16,005.97*
  ADDRESS REDACTED                        20-10342 (LSS)                                                  ADDRESS REDACTED                          20-10343 (LSS)


  Reason: Claim to be disallowed and remaining Claim are identical, except for the Debtors against which they are asserted
2 MINOR [458]                  11/10/20   Delaware BSA, LLC           C342-458             $ 2,943,252.01 THERESA NEYREY AND            11/10/20    Boy Scouts of America      C343-3450            $ 2,943,252.01
  KEVIN GENNUSA                           20-10342 (LSS)                                                  GEORGE NEYREY                             20-10343 (LSS)
  4405 N I-10 SERVICE RD                                                                                  C/O GENNUSA PIACUN
  STE 200                                                                                                 ATTN: KEVIN GENNUSA
  METAIRIE, LA 70006                                                                                      4405 N I-10 SERVICE RD,
                                                                                                          STE 200
                                                                                                          METAIRIE, LA 70006


  Reason: Claim to be disallowed and remaining Claim are identical, except for the Debtors against which they are asserted
3 PEGGY CHESTNUTT              06/26/20   Delaware BSA, LLC             C342-4             $ 1,240,000.00 PEGGY CHESTNUTT               06/26/20    Boy Scouts of America      C343-104             $ 1,240,000.00
  ADDRESS REDACTED                        20-10342 (LSS)                                                  ADDRESS REDACTED                          20-10343 (LSS)


  Reason: Claim to be disallowed and remaining Claim are identical, except for the Debtors against which they are asserted
4 SHERILYN APPLEWHITE          11/09/20   Delaware BSA, LLC           C342-411            $ 15,000,000.00 SHERILYN APPLEWHITE           11/09/20    Boy Scouts of America      C343-3127           $ 15,000,000.00
  C/O STARK & STARK PC                    20-10342 (LSS)                                                  C/O STARK & STARK PC                      20-10343 (LSS)
  ATTN: DAVID SCHMID                                                                                      ATTN: DAVID SCHMID
  993 LENOX DR, BLDG 2                                                                                    993 LENOX DR, BLDG 2
  LAWRENCEVILLE, NJ                                                                                       LAWRENCEVILLE, NJ
  08648                                                                                                   08648


  Reason: Claim to be disallowed and remaining Claim are identical, except for the Debtors against which they are asserted




            This Schedule contains certain redactions to personal contact information in compliance with the confidentiality procedures, as set forth in the Final Order (I) Authorizing Debtors to File (A)
            A Consolidated List of Counsel Representing the Largest Numbers of Abuse Victims and (B) A Consolidated List of Other Unsecured Creditors of the Debtors, (II) Authorizing and
            Approving Special Noticing and Confidentiality Procedures, and (III) Granting Related Relief [D
                                                                                                          [Docket No. 274].

            * Indicates claim contains unliquidated and/or undetermined amounts                                                                                Page 1 of 2
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                                                                     Second Omnibus Objection (Substantive)
                                                                    Schedule 1 - Cross-Debtor Duplicate Claims
                  CROSS-DEBTOR DUPLICATE CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIM

                               DATE          CASE NUMBER /                                                                              DATE           CASE NUMBER /
           NAME                FILED            DEBTOR                CLAIM #      CLAIM AMOUNT                    NAME                 FILED             DEBTOR               CLAIM #      CLAIM AMOUNT
5 TREASURER OF                 07/14/20   Delaware BSA, LLC             C342-5             Undetermined* TREASURER OF                   07/14/20    Boy Scouts of America      C343-128             Undetermined*
  VIRGINIA                                20-10342 (LSS)                                                 VIRGINIA                                   20-10343 (LSS)
  C/O VIRGINIA DEPT OF                                                                                   C/O VIRGINIA DEPT OF
  THE TREASURY                                                                                           THE TREASURY
  UNCLAIMED PROPERTY                                                                                     UNCLAIMED PROPERTY
  DIVISION                                                                                               DIVISION
  ATTN: VICKI D                                                                                          ATTN: VICKI D
  BRIDGEMAN                                                                                              BRIDGEMAN
  P.O. BOX 2478                                                                                          P.O. BOX 2478
  RICHMOND, VA 23218-                                                                                    RICHMOND, VA 23218-
  2478                                                                                                   2478


  Reason: Claim to be disallowed and remaining Claim are identical, except for the Debtors against which they are asserted
6 WW GRAINGER INC              07/13/20   Delaware BSA, LLC            C342-19                 $ 1,707.85 WW. GRAINGER INC              07/13/20    Boy Scouts of America      C343-196                 $ 1,707.85
  ATTN: MARCIA HECK                       20-10342 (LSS)                                                  ATTN: MARCIA HECK                         20-10343 (LSS)
  401 S WRIGHT RD, W4W                                                                                    401 S WRIGHT RD, W4W
  R47                                                                                                     R47
  JANESVILLE, WI 53546                                                                                    JANESVILLE, WI 53546


  Reason: Claim to be disallowed and remaining Claim are identical, except for the Debtors against which they are asserted




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            A Consolidated List of Counsel Representing the Largest Numbers of Abuse Victims and (B) A Consolidated List of Other Unsecured Creditors of the Debtors, (II) Authorizing and
            Approving Special Noticing and Confidentiality Procedures, and (III) Granting Related Relief [D
                                                                                                          [Docket No. 274].

            * Indicates claim contains unliquidated and/or undetermined amounts                                                                                Page 2 of 2
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                        Schedule 2

               Substantive Duplicate Claims
                                                   Case 20-10343-LSS                  Doc 2020-1           Filed 02/03/21          Page 10 of 24


                                                                      Second Omnibus Objection (Substantive)
                                                                      Schedule 2 - Substantive Duplicate Claims
                    SUBSTANTIVE DUPLICATE CLAIM TO BE DISALLOWED                                                                                   SURVIVING CLAIM
                                DATE          CASE NUMBER /                                                                             DATE          CASE NUMBER /
           NAME                 FILED            DEBTOR                CLAIM #      CLAIM AMOUNT                       NAME             FILED            DEBTOR                CLAIM #      CLAIM AMOUNT
1 AAF HAULING INC              07/20/20    Boy Scouts of America        C343-210                $ 7,737.47 AAF HAULING                  10/19/20   Boy Scouts of America       C343-427                 $ 7,737.47
  ATTN: FLOYD GRIEGO                       20-10343 (LSS)                                                  C/O FAIR HARBOR                         20-10343 (LSS)
  P.O. BOX 415                                                                                             CAPITAL LLC
  GUADALUPITA, NM                                                                                          ATTN: VICTOR KNOX
  87722                                                                                                    P.O. BOX 237037
                                                                                                           NEW YORK, NY 10023


  Reason: Liabilities asserted on Claim to be disallowed are duplicative of liabilities asserted on remaining Claim.
2 AAF HAULING LLC              07/02/20    Boy Scouts of America        C343-121                $ 7,737.47 AAF HAULING                  10/19/20   Boy Scouts of America       C343-427                 $ 7,737.47
  ATTN: FLOYD GRIEGO                       20-10343 (LSS)                                                  C/O FAIR HARBOR                         20-10343 (LSS)
  P.O. BOX 415                                                                                             CAPITAL LLC
  GUADALUPITA, NM                                                                                          ATTN: VICTOR KNOX
  87701                                                                                                    P.O. BOX 237037
                                                                                                           NEW YORK, NY 10023


  Reason: Liabilities asserted on Claim to be disallowed are duplicative of liabilities asserted on remaining Claim.
3 CHARLES KEATHLEY             09/11/20    Boy Scouts of America        C343-335               $ 69,464.00 KEATHLEY, CHARLES            09/14/20   Boy Scouts of America       C343-361                $ 69,464.33
  ADDRESS REDACTED                         20-10343 (LSS)                                                  ADDRESS REDACTED                        20-10343 (LSS)


  Reason: Liabilities asserted on Claim to be disallowed are duplicative of liabilities asserted on remaining Claim.
4 DESIGNSENSORY                06/01/20    Delaware BSA, LLC             C342-2                 $ 3,996.61 DESIGNSENSORY                07/13/20   Boy Scouts of America       C343-416                $ 10,814.36
  ATTN: JOSEPH NOTHER                      20-10342 (LSS)                                                  CENTERPOINT                             20-10343 (LSS)
  1740 COMMONS POINT                                                                                       COMMONS BLDG 1
  DR                                                                                                       ATTN: RONNIE
  KNOXVILLE, TN 37932                                                                                      ROCHELLE
                                                                                                           1740 COMMONS PT DR
                                                                                                           KNOXVILLE, TN 37932


  Reason: Liabilities asserted on Claim to be disallowed are duplicative of liabilities asserted on remaining Claim.




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            A Consolidated List of Counsel Representing the Largest Numbers of Abuse Victims and (B) A Consolidated List of Other Unsecured Creditors of the Debtors, (II) Authorizing and
            Approving Special Noticing and Confidentiality Procedures, and (III) Granting Related Relief [D
                                                                                                          [Docket No. 274].

            * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 1 of 2
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                                                                      Second Omnibus Objection (Substantive)
                                                                      Schedule 2 - Substantive Duplicate Claims
                    SUBSTANTIVE DUPLICATE CLAIM TO BE DISALLOWED                                                                                   SURVIVING CLAIM
                                DATE          CASE NUMBER /                                                                             DATE          CASE NUMBER /
           NAME                 FILED            DEBTOR                CLAIM #      CLAIM AMOUNT                       NAME             FILED            DEBTOR                CLAIM #      CLAIM AMOUNT
5 DESIGNSENSORY                06/01/20    Delaware BSA, LLC             C342-3                 $ 6,817.75 DESIGNSENSORY                07/13/20   Boy Scouts of America       C343-416                $ 10,814.36
  ATTN: JOSEPH NOTHER                      20-10342 (LSS)                                                  CENTERPOINT                             20-10343 (LSS)
  1740 COMMONS POINT                                                                                       COMMONS BLDG 1
  DR                                                                                                       ATTN: RONNIE
  KNOXVILLE, TN 37932                                                                                      ROCHELLE
                                                                                                           1740 COMMONS PT DR
                                                                                                           KNOXVILLE, TN 37932


  Reason: Liabilities asserted on Claim to be disallowed are duplicative of liabilities asserted on remaining Claim.
6 JOSEPH S COCO                10/13/20    Boy Scouts of America        C343-400               $ 16,005.97 COCO, JOSEPH S               07/13/20   Boy Scouts of America       C343-403               $ 16,005.97*
  ADDRESS REDACTED                         20-10343 (LSS)                                                  ADDRESS REDACTED                        20-10343 (LSS)


  Reason: Liabilities asserted on Claim to be disallowed are duplicative of liabilities asserted on remaining Claim.
7 ROSS II, DAVID J             08/19/20    Boy Scouts of America        C343-281              $ 904,795.26 ROSS II, DAVID J             09/11/20   Boy Scouts of America       C343-334               $ 904,795.00
  ADDRESS REDACTED                         20-10343 (LSS)                                                  ADDRESS REDACTED                        20-10343 (LSS)


  Reason: Liabilities asserted on Claim to be disallowed are duplicative of liabilities asserted on remaining Claim.
8 THE PROBAR LLC               04/24/20    Boy Scouts of America        C343-47               $ 143,132.84 THE PROBAR LLC               06/09/20   Boy Scouts of America        C343-75               $ 143,132.84
  ATTN: JULIE OCKLER                       20-10343 (LSS)                                                  ATTN: JULIE OCKLER                      20-10343 (LSS)
  190 N APOLLO RD                                                                                          190 N APOLLO RD
  SALT LAKE CITY, UT                                                                                       SALT LAKE CITY, UT
  84116                                                                                                    84116


  Reason: Liabilities asserted on Claim to be disallowed are duplicative of liabilities asserted on remaining Claim.




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            A Consolidated List of Counsel Representing the Largest Numbers of Abuse Victims and (B) A Consolidated List of Other Unsecured Creditors of the Debtors, (II) Authorizing and
            Approving Special Noticing and Confidentiality Procedures, and (III) Granting Related Relief [D
                                                                                                          [Docket No. 274].

            * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 2 of 2
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                         Schedule 3

                     No Liability Claims
                                                Case 20-10343-LSS                   Doc 2020-1     Filed 02/03/21     Page 13 of 24


                                                                 Second Omnibus Objection (Substantive)
                                                                    Schedule 3 - No Liability Claims
                                                           DATE
    NAME                                                   FILED              DEBTOR             CLAIM #    CLAIM AMOUNT                        REASON FOR DISALLOWANCE
1   ACCESS COMMUNICATIONS, INC                           8/13/2020 Boy Scouts of America         C343-271           $ 8,500.00 The Debtors' Books and Records do not indicate a liability
    51 BROOK ST                                                                                                                related to invoice 201901 or invoice 301901, and the Debtors do
    REHOBOTH, MA 02769                                                                                                         not believe these two invoices are valid. Additionally, invoice
                                                                                                                               20181201 was paid in full via check no. 00001886 on 2/11/2019,
                                                                                                                               and was therefore no longer a liability held by the Debtors as of
                                                                                                                               the petition date. No additional invoices were included in the
                                                                                                                               claimed amount, so there is no liability in the Debtors' Books
                                                                                                                               and Records related to this claim.
2   ACCOUNTING PRINCIPALS                                2/25/2020 Boy Scouts of America          C343-2         $ 8,000.00* Claim asserts amounts owed by Local Council Occoneechee
    ATTN: STEVEN REBIDAS                                                                                                     Council, which is not a Debtor in these Chapter 11 cases.
    10151 DEERWOOD PARK BLVD
    JACKSONVILLE, FL 32256


3   ALBANY AUTO SERVICE INC                              6/25/2020 Boy Scouts of America         C343-123            $ 913.90 Claim asserts amounts owed by Local Council South Georgia
    ATTN: CHERYL BUFORD                                                                                                       Council, which is not a Debtor in these Chapter 11 cases.
    1305 W OGLETHORPE AVE
    ALBANY, GA 31707


4   BALL CHAIN MANUFACTURING CO., INC.                    7/6/2020   Boy Scouts of America       C343-110            $ 889.46 Claim asserts amounts owed by Local Council Hudson Valley
    ATTN: TERESA DEJESUS                                                                                                      Council, which is not a Debtor in these Chapter 11 cases.
    741 S FULTON AVE
    MOUNT VERNON, NY 10550


5   COUNTY OF ORANGE                                      3/6/2020   Boy Scouts of America       C343-25            $ 5,488.66 According to the Debtors’ books and records, Debtors have no
    ATTN: RATNA BUTANI                                                                                                         liability on the asserted claim. The Debtors believe that liability,
    P.O. BOX 4515                                                                                                              if any, belongs to a non-Debtor third-party.
    SANTA ANA, CA92702


6   DALLAS ASSOCIATION OF CREDIT MANAGEMENT              3/23/2020 Boy Scouts of America         C343-33             $ 778.00 The Debtors' Books and Records do not indicate a record of
    INC                                                                                                                       invoice 444108, and the Debtors do not believe this invoice to be
    C/O NACM SOUTHWEST                                                                                                        valid.
    ATTN: ANITA SADIKIN
    751 PLAZA BLVD
    COPPELL, TX 75019


7   FORT BEND COUNTY                                     2/25/2020 Boy Scouts of America          C343-5               $ 45.43 According to the Debtors’ books and records, Debtors have no
    C/O LINEBARGER GOGGAN BLAIR & SAMPSON LLP                                                                                  liability on the asserted claim. The Debtors believe that liability,
    ATTN: JOHN P. DILLMAN                                                                                                      if any, belongs to Western Los Angeles County Council, which is
    P.O. BOX 3064
                                                                                                                               a non-Debtor third-party.
    HOUSTON, TX 77253-3064




            * - Indicates claim contains unliquidated and/or undetermined amounts                                                                  Page 1 of 2
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                                                                    Second Omnibus Objection (Substantive)
                                                                       Schedule 3 - No Liability Claims
                                                             DATE
    NAME                                                     FILED               DEBTOR                CLAIM #        CLAIM AMOUNT                          REASON FOR DISALLOWANCE
8   JOHN GIOIA                                              7/27/2020 Boy Scouts of America            C343-275                $ 40,867.00 According to the Debtors’ books and records, the Debtors have
    ADDRESS REDACTED                                                                                                                       no liability on the asserted claim. The Debtors' records indicate
                                                                                                                                           that the claimant is not eligible for the asserted benefit/coverage.

9   LOS ANGELES COUNTY TREASURER AND TAX                    5/26/2020 Boy Scouts of America             C343-63                $ 37,889.24 According to the Debtors’ books and records, Debtors have no
    COLLECTOR                                                                                                                              liability on the asserted claim. The Debtors believe that liability,
    ATTN: OSCAR ESTRADA                                                                                                                    if any, belongs to Long Beach Area Council, which is a non-
    P.O. BOX 54110
                                                                                                                                           Debtor third-party.
    LOS ANGELES, CA 90054


10 LOS ANGELES COUNTY TREASURER AND TAX                     5/26/2020 Boy Scouts of America             C343-64                $ 87,709.55 According to the Debtors’ books and records, Debtors have no
    COLLECTOR                                                                                                                              liability on the asserted claim. The Debtors believe that liability,
    ATTN: OSCAR ESTRADA                                                                                                                    if any, belongs to Western Los Angeles County Council and Sea
    P.O. BOX 54110
                                                                                                                                           Scouts, which are non-Debtor third-parties.
    LOS ANGELES, CA 90054


11 MONTEREY COUNTY TAX COLLECTOR                           11/13/2020 Boy Scouts of America           C343-6117                 $ 1,852.25 According to the Debtors’ books and records, Debtors have no
    P.O. BOX 891                                                                                                                           liability on the asserted claim. The Debtors believe that liability,
    SALINAS, CA 93902                                                                                                                      if any, belongs to Sea Scouts, which is a non-Debtor third-party.


                                                                                                     TOTAL                  $ 192,933.49*




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            A Consolidated List of Counsel Representing the Largest Numbers of Abuse Victims and (B) A Consolidated List of Other Unsecured Creditors of the Debtors, (II) Authorizing and
            Approving Special Noticing and Confidentiality Procedures, and (III) Granting Related Relief [D
                                                                                                          [Docket No. 274].

             * - Indicates claim contains unliquidated and/or undetermined amounts                                                                             Page 2 of 2
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                         Schedule 4

                    Misclassified Claims
                                                      Case 20-10343-LSS                  Doc 2020-1            Filed 02/03/21           Page 16 of 24
                                                                           Second Omnibus Objection (Substantive)
                                                                              Schedule 4 - Misclassified Claims
                                                                                   MISCLASSIFIED CLAIM ASSERTED                                                        CORRECTED
    NAME                                     CLAIM#                    DEBTOR                   PRIORITY             AMOUNT                          DEBTOR                   PRIORITY             AMOUNT
                                                                                                 STATUS                                                                        STATUS
1   ACE LOCKSMITH 2, LLC                     C343-122      Boy Scouts of America               503(b)(9)                      $235.80 Boy Scouts of America                  503(b)(9)                           $65.80
    ATTN: RICHARD SMITH
    3232 IRVING BLVD                                                                                                                     Boy Scouts of America               Unsecured                          $170.00
    DALLAS, TX 75247
                                                                                                                                                                             Subtotal                           $235.80

    Reason: According to the Debtors' Books and Records the liability asserted under the administrative priority under 11 U.S.C §503(b)(9) only has legal basis in the amount of $65.80, as the invoice level
    detail shows the remaining $170.00 of the claim is related to services rather than goods, and is therefore ineligible for §503(b)(9) status.
2   ADVANTAGECS                              C343-198      Boy Scouts of America               503(b)(9)                   $13,824.98 Boy Scouts of America                  503(b)(9)                            $0.00
    ATTN: BRYAN VARBLOW
    3850 RANCHERO DR                                                                                                                     Boy Scouts of America               Unsecured                   $13,824.98
    ANN ARBOR, MI 48108
                                                                                                                                                                             Subtotal                    $13,824.98

    Reason: According to the Debtors' Books and Records the liability asserted under the administrative priority under 11 U.S.C §503(b)(9) has no legal basis as the invoice level detail shows this claim is
    related to services rather than goods, which makes it ineligible for §503(b)(9) status.
3   ALAN PLUMMER ASSOCIATES                  C342-6^       Delaware BSA, LLC                   503(b)(9)                      $169.46 Boy Scouts of America                  503(b)(9)                            $0.00
    ATTN: BEVERLEY WASSMUND
    1221 AURARIA PKWY                                                                                                                    Boy Scouts of America               Unsecured                          $169.46
    DENVER, CO 80128
                                                                                                                                                                             Subtotal                           $169.46

    Reason: According to the Debtors' Books and Records the liability asserted under the administrative priority under 11 U.S.C §503(b)(9) has no legal basis as the invoice level detail shows this claim is
    related to services rather than goods, which makes it ineligible for §503(b)(9) status.
    ^ Claim No. C342-6 is also included as an Incorrect Debtor Claim on Schedule 3 to the Proposed Order attached as Exhibit A to the Debtors’ First Omnibus (Non-Substantive) Objection filed
    contemporaneously herewith.
4   AMER SPORTS WINTER & OUTDOOR C343-2656 Boy Scouts of America                               503(b)(9)                   $11,466.32 Boy Scouts of America                  503(b)(9)                            $0.00
    COMPANY
    ATTN: LINDSAY HAKALA                                                                                                                 Boy Scouts of America               Unsecured                   $11,466.32
    2030 LINCOLN AVE
    OGDEN, UT 84401                                                                                                                                                          Subtotal                    $11,466.32


    Reason: According to the Debtors' Books and Records the liability asserted under the administrative priority under 11 U.S.C §503(b)(9) has no legal basis as the goods were not received within the 20 days
    preceding the petition date.
5   CAROLINA BUSINESS SUPPLIES, INC C343-138               Boy Scouts of America               503(b)(9)                      $766.54 Boy Scouts of America                  503(b)(9)                            $0.00
    ATTN: ALICE DIXON
    5100 ROZZELLES FERRY RD                                Boy Scouts of America               Unsecured                         $0.00 Boy Scouts of America                 Unsecured                          $766.54
    CHARLOTTE, NC 28216
                                                                                               Subtotal                       $766.54                                        Subtotal                           $766.54

    Reason: According to the Debtors' Books and Records the liability asserted under the administrative priority under 11 U.S.C §503(b)(9) has no legal basis as the goods were not received within the 20 days
    preceding the petition date.




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                                                      Case 20-10343-LSS                  Doc 2020-1            Filed 02/03/21           Page 17 of 24
                                                                           Second Omnibus Objection (Substantive)
                                                                              Schedule 4 - Misclassified Claims
                                                                                   MISCLASSIFIED CLAIM ASSERTED                                                        CORRECTED
    NAME                                     CLAIM#                    DEBTOR                   PRIORITY             AMOUNT                          DEBTOR                   PRIORITY             AMOUNT
                                                                                                 STATUS                                                                        STATUS
6   EXPERIENCE BASED LEARNING                C343-295      Boy Scouts of America               503(b)(9)                   $10,000.00 Boy Scouts of America                  503(b)(9)                            $0.00
    SYSTEMS, LLC
    ATTN: DAVID ALLEN KOLB                                                                                                               Boy Scouts of America               Unsecured                   $10,000.00
    75 ULUA RD
    KAUNAKAKAI, HI 96748                                                                                                                                                     Subtotal                    $10,000.00


    Reason: According to the Debtors' Books and Records the liability asserted under the administrative priority under 11 U.S.C §503(b)(9) has no legal basis as the invoice level detail shows this claim is
    related to a software license rather than goods, which makes it ineligible for §503(b)(9) status.
7   FLORIDA KEYS ELECTRIC                    C343-279      Boy Scouts of America               503(b)(9)                    $7,606.99 Boy Scouts of America                  503(b)(9)                            $0.00
    COOPERATIVE
    ATTN: MARIA JONES                                                                                                                    Boy Scouts of America               Unsecured                       $7,606.99
    P.O. BOX 377
    TAVERNIER, FL33070                                                                                                                                                       Subtotal                        $7,606.99


    Reason: According to the Debtors' Books and Records the liability asserted under the administrative priority under 11 U.S.C §503(b)(9) has no legal basis as the invoice level detail shows the claim is
    related to electric utility services rather than goods, which makes it ineligible for §503(b)(9) status.
8   G MEN ENVIRONMENTAL SERVICES, C343-300                 Boy Scouts of America               503(b)(9)                      $690.54 Boy Scouts of America                  503(b)(9)                            $0.00
    INC
    P.O. BOX 269                                                                                                                         Boy Scouts of America               Unsecured                          $690.54
    ELY, MN55731
                                                                                                                                                                             Subtotal                           $690.54

    Reason: According to the Debtors' Books and Records the liability asserted under the administrative priority under 11 U.S.C §503(b)(9) has no legal basis as the invoice level detail shows this claim is
    related to services rather than goods, which makes it ineligible for §503(b)(9) status.
9   GREAT WOLF LODGE OF GRAPEVINE C343-425                 Boy Scouts of America               503(b)(9)                   $58,445.14 Boy Scouts of America                  503(b)(9)                            $0.00
    DIRECTOR OF FINANCE
    ATTN: DINESH PARBHOO                                   Boy Scouts of America               Unsecured                         $0.00 Boy Scouts of America                 Unsecured                   $58,445.14
    100 GREAT WOLF DR
    GRAPEVINE, TX 76051                                                                        Subtotal                    $58,445.14                                        Subtotal                    $58,445.14


    Reason: According to the Debtors' Books and Records the liability asserted under the administrative priority under 11 U.S.C §503(b)(9) has no legal basis as the invoice level detail shows this claim is
    related to services rather than goods, which makes it ineligible for §503(b)(9) status.
10 JEFFREY A HWAY                            C343-2824 Boy Scouts of America                   503(b)(9)                   $16,807.00 Boy Scouts of America                  503(b)(9)                            $0.00
    C/O CHILLY DOGS SLED DOG
    KENNEL                                                                                                                               Boy Scouts of America               Unsecured                   $16,807.00
    1557 ESTERBERG RD
    ELY, MN55731                                                                                                                                                             Subtotal                    $16,807.00


    Reason: According to the Debtors' Books and Records the liability asserted under the administrative priority under 11 U.S.C §503(b)(9) has no legal basis as the invoice level detail shows this claim is
    related to services and rentals rather than purchased goods, which makes it ineligible for §503(b)(9) status.




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                                                     Case 20-10343-LSS                   Doc 2020-1           Filed 02/03/21            Page 18 of 24
                                                                           Second Omnibus Objection (Substantive)
                                                                              Schedule 4 - Misclassified Claims
                                                                                  MISCLASSIFIED CLAIM ASSERTED                                                         CORRECTED
   NAME                                     CLAIM#                    DEBTOR                    PRIORITY             AMOUNT                          DEBTOR                   PRIORITY              AMOUNT
                                                                                                 STATUS                                                                        STATUS
11 KEYS KAYAK LLC                           C343-236      Boy Scouts of America               Secured                       $1,117.00 Boy Scouts of America                  Secured                            $0.00
   ATTN: ROBERT RANKIN
   10499 OVERSEAS HWY                                     Boy Scouts of America               Unsecured                          $0.00 Boy Scouts of America                 Unsecured                       $1,117.00
   MARATHON, FL 33050
                                                                                              Subtotal                      $1,117.00                                        Subtotal                        $1,117.00

   Reason: According to the Debtors' Books and Records the liability asserted as secured has no legal basis. The claimant holds no lien to secure this claim, and the claim is therefore ineligible for secured
   status.
12 PALMETTO PACKAGING                       C343-412      Boy Scouts of America               503(b)(9)                       $988.88 Boy Scouts of America                  503(b)(9)                          $0.00
   CORPORATION
   ATTN: DAVID SEARCY                                                                                                                    Boy Scouts of America               Unsecured                        $988.88
   1131 EDWARDS CIR
   FLORENCE, SC 29501                                                                                                                                                        Subtotal                         $988.88


   Reason: According to the Debtors' Books and Records the liability asserted under the administrative priority under 11 U.S.C §503(b)(9) has no legal basis as the goods were not received within the 20 days
   preceding the petition date.
13 SHANNON ASSOCAITES, LLC                  C343-155      Boy Scouts of America               Priority                        $200.00 Boy Scouts of America                  Priority                           $0.00
   ATTN: JODIE PERRY
   333 W 57TH ST, STE 809                                                                                                                Boy Scouts of America               Unsecured                        $200.00
   NEW YORK, NY 10019
                                                                                                                                                                             Subtotal                         $200.00

   Reason: According to the Debtors' Books and Records the liability asserted as priority status under 11 U.S.C §507(a)(4) has no legal basis. The invoice level detail shows this claim relates to the provision
   of services rather than employee wages or commissions, and is therefore ineligible for priority status.
14 STARNES PALLET SERVICE, INC              C343-178      Boy Scouts of America               503(b)(9)                     $1,179.76 Boy Scouts of America                  503(b)(9)                        $697.13
   ATTN: MEGHAN STARNES
   P.O. BOX 5484                                                                                                                         Boy Scouts of America               Unsecured                        $482.63
   CHARLOTTE, NC 28299-5484
                                                                                                                                                                             Subtotal                        $1,179.76

   Reason: According to the Debtors' Books and Records the liability asserted under the administrative priority under 11 U.S.C §503(b)(9) only has legal basis in the amount of $697.13, as the invoice level
   detail shows the remaining $482.63 of the claim is related to rentals rather than purchased goods, and is therefore ineligible for §503(b)(9) status.
15 TARGET CREATIVE GROUP, INC               C343-         Boy Scouts of America               503(b)(9)                     $2,879.65 Boy Scouts of America                  503(b)(9)                          $0.00
   TARGET CREATIVE GROUP, INC               12620
   151 N NOBHILL RD                                                                                                                      Boy Scouts of America               Unsecured                       $2,879.65
   PLANTATION, FL33324-7708
                                                                                                                                                                             Subtotal                        $2,879.65

   Reason: According to the Debtors' Books and Records the liability asserted under the administrative priority under 11 U.S.C §503(b)(9) has no legal basis as the goods were not received within the 20 days
   preceding the petition date.




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                                                      Case 20-10343-LSS                  Doc 2020-1            Filed 02/03/21           Page 19 of 24
                                                                           Second Omnibus Objection (Substantive)
                                                                              Schedule 4 - Misclassified Claims
                                                                                   MISCLASSIFIED CLAIM ASSERTED                                                         CORRECTED
   NAME                                      CLAIM#                    DEBTOR                   PRIORITY             AMOUNT                           DEBTOR                   PRIORITY             AMOUNT
                                                                                                 STATUS                                                                         STATUS
16 WHITE WILDERNESS, INC                     C343-392     Boy Scouts of America                503(b)(9)                   $34,300.00 Boy Scouts of America                   503(b)(9)                          $0.00
   ATTN: PETER S MCCLELLAND
   P.O. BOX 727                                           Boy Scouts of America                Unsecured                     $1,396.25 Boy Scouts of America                  Unsecured                   $35,696.25
   ELY, MN55731
                                                                                               Subtotal                    $35,696.25                                         Subtotal                    $35,696.25

   Reason: According to the Debtors' Books and Records the liability asserted under the administrative priority under 11 U.S.C §503(b)(9) has no legal basis as the invoice level detail shows this claim is
   related to services rather than goods, which makes it ineligible for §503(b)(9) status.
17 WINGATE BY WYNDHAM 1-77 &                 C343-333     Boy Scouts of America                503(b)(9)                     $1,286.16 Boy Scouts of America                  503(b)(9)                          $0.00
   TYVOLA
   ATTN: TODD BLANTON                                     Boy Scouts of America                Priority                      $1,286.16 Boy Scouts of America                  Priority                           $0.00
   CHARLOTTE AIRPORT SOUTH
   6050 TYVOLA GLEN CIR                                                                        Subtotal                      $2,572.32 Boy Scouts of America                  Unsecured                       $2,572.32
   CHARLOTTE, NC 28217-6431
                                                                                                                                                                              Subtotal                        $2,572.32

   Reason: According to the Debtors' Books and Records the liability asserted under the administrative priority under 11 U.S.C §503(b)(9) has no legal basis as the invoice level detail shows this claim is
   related to services rather than goods, which makes it ineligible for §503(b)(9) status. Additionally, the liability asserted with priority under 11 U.S.C. §507(a) has no legal basis and does not meet the
   requirements of §507(a) Priority status.
18 YALE CAROLINAS, INC DBA                   C343-101     Boy Scouts of America                503(b)(9)                     $3,560.28 Boy Scouts of America                  503(b)(9)                       $1,854.62
   WHEELER MATERIAL HANDLING
   ATTN: STACEY WOODFIN                                                                                                                  Boy Scouts of America                Unsecured                       $1,705.66
   9839 S TRYON ST
   CHARLOTTE, NC 28273-6505                                                                                                                                                   Subtotal                        $3,560.28


   Reason: According to the Debtors' Books and Records the liability asserted under the administrative priority under 11 U.S.C §503(b)(9) has legal basis in the amount of $1,854.62, as the invoice level
   detail shows $1,854.62 of this claim is related to goods sold and delivered in the 20 day period preceding the petition date. The remainder of the claim relates to rentals and services provided, so the
   remaining $1,705.66 should be reclassed to Unsecured.
                                                          TOTAL                                                          $ 168,206.91 TOTAL                                                             $ 168,206.91




              This Schedule contains certain redactions to personal contact information in compliance with the confidentiality procedures, as set forth in the Final Order (I) Authorizing Debtors to File (A)
              A Consolidated List of Counsel Representing the Largest Numbers of Abuse Victims and (B) A Consolidated List of Other Unsecured Creditors of the Debtors, (II) Authorizing and
              Approving Special Noticing and Confidentiality Procedures, and (III) Granting Related Relief [D
                                                                                                            [Docket No. 274].
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                          Schedule 5

                    Reduce and Allow Claims
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                                                                          Second Omnibus Objection (Substantive)
                                                                           Schedule 5 - Reduce and Allow Claims
                                                                                REDUCE AND ALLOW CLAIM ASSERTED                                                     MODIFIED
    NAME                                    CLAIM#                   DEBTOR                  PRIORITY             AMOUNT                         DEBTOR                PRIORITY             AMOUNT
                                                                                              STATUS                                                                    STATUS
1   ADVANTAGECS                             C343-198^ Boy Scouts of America                 503(b)(9)                   $13,824.98 Boy Scouts of America                503(b)(9)                     $0.00
    ATTN: BRYAN VARBLOW
    3850 RANCHERO DR                                                                                                                 Boy Scouts of America              Unsecured              $13,641.31
    ANN ARBOR, MI 48108
                                                                                                                                                                        Subtotal               $13,641.31

    Reason: According to the Debtors' Books and Records, the valid claim amount is $13,641.31. Invoice 097-20028 was claimed in the amount of $5,397.43, of which $183.67 was determined by the Debtor
    to be postpetition. That postpetition portion was paid in full via ACH no. 00073153 on 4/15/2020. Therefore, the claim should be reduced by that paid amount.
    ^ Claim No. C343-198 is also included as a Misclassified Claim on Schedule 4 to the Proposed Order attached as Exhibit A to the Debtors’ Second Omnibus (Substantive) Objection filed
    contemporaneously herewith.
2   ALLSTREAM                               C343-357     Boy Scouts of America              Unsecured              Undetermined* Boy Scouts of America                  Unsecured                     $1.11
    C/O ALLSTREAM COLLECTIONS
    ATTN: VANESSA HEROLD
    14221 GOLF COURSE DR, STE 100
    BAXTER, MN 56425


    Reason: Liquidate the claim amount at $1.11. The claim was filed as fully unliquidated, and the Debtors' Books and Records indicate an unpaid prepetition liability of $1.11.

3   APPALACHIAN AGGREGATES, LLC             C343-76      Boy Scouts of America              503(b)(9)                    $6,760.12 Boy Scouts of America                503(b)(9)                     $0.00
    ATTN: JAMES LINKOUS
    171 ST CLAIRS XING                                   Boy Scouts of America              Unsecured                    $6,880.82 Boy Scouts of America                Unsecured                 $6,880.82
    BLUEFIELD, VA 24605
                                                                                            Subtotal                    $13,640.94                                      Subtotal                  $6,880.82

    Reason: According to the Debtors' Books and Records, the valid claim amount is $6,880.82, and the remaining $6,760.12 claimed as §503(b)(9) should be modified to $0. This claimed §503(b)(9) amount
    is associated with invoice 77989, which was determined by the Debtor to be postpetition. That postpetition portion was paid in full via ACH no. 00075739 on 7/1/2020.
4   APTEAN SYSTEMS, LLC                     C343-111     Boy Scouts of America              Unsecured                    $2,902.50 Boy Scouts of America                Unsecured                 $2,633.75
    ATTN: NEIL S. GOLDSTEIN
    4325 ALEXANDER DR, STE 100
    ROSWELL, GA 30022


    Reason: According to the Debtors' Books and Records, the valid claim amount is $2,633.75. Postpetition invoice PS-358075 was claimed in the amount of $268.75, and was paid in full via ACH no.
    00075605 on 6/24/2020. Therefore, the claim should be reduced by that paid amount.
5   CEC FACILITIES GROUP                    C343-1177 Boy Scouts of America                 Unsecured                   $23,668.66 Boy Scouts of America                Unsecured              $19,508.66
    C/O FAIR HARBOR CAPITAL LLC
    P.O. BOX 237037
    NEW YORK, NY 10023


    Reason: According to the Debtors' Books and Records, the valid claim amount is $19,508.66. Invoice 14139 was claimed in the amount of $8,042.66, of which $4,160 was determined by the Debtor to be
    postpetition. That postpetition portion was paid in full via ACH no. 00072507 on 3/18/2020. Therefore, the claim should be reduced by that paid amount.




    * Indicates claim contains unliquidated and/or undetermined amounts
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                                                      Case 20-10343-LSS                 Doc 2020-1             Filed 02/03/21          Page 22 of 24
                                                                           Second Omnibus Objection (Substantive)
                                                                            Schedule 5 - Reduce and Allow Claims
                                                                                  REDUCE AND ALLOW CLAIM ASSERTED                                                      MODIFIED
    NAME                                     CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                 PRIORITY               AMOUNT
                                                                                                STATUS                                                                     STATUS
6   F&M HAT COMPANY INC                      C343-402     Boy Scouts of America               503(b)(9)                    $7,392.00 Boy Scouts of America                 503(b)(9)                       $7,392.00
    ATTN: PAMELA HAEUSER
    103 WALNUT ST                                         Boy Scouts of America               Priority                     $7,392.00 Boy Scouts of America                 Priority                           $0.00
    DENVER, PA 17517
                                                          Boy Scouts of America               Unsecured                        $0.00 Boy Scouts of America                 Unsecured                          $0.00

                                                                                              Subtotal                    $14,784.00                                       Subtotal                        $7,392.00

    Reason: Modify the Priority portion of the claim to $0. The claimant entered the same amount, $7,392, into both the §503(b)(9) and Priority sections of the Proof of Claim. The Proof of Claim does
    provide support for an amount of $7,392, but provides no further support for an additional Priority amount. It does not appear that the claimant intends to claim an additional $7,392 with a Priority status,
    nor do the Debtors' books and records agree to such an additional amount.
7   LABATT INSTITUTIONAL SUPPLY, CO C343-287              Boy Scouts of America               503(b)(9)                   $33,631.37 Boy Scouts of America                 503(b)(9)                   $33,631.37
    P.O. BOX 137
    SAN ANTONIO, TX 78291                                 Boy Scouts of America               Administrative              $33,631.37 Boy Scouts of America                 Administrative                     $0.00

                                                                                              Subtotal                    $67,262.74                                       Subtotal                    $33,631.37

    Reason: Modify the 11 U.S.C §507(a)(2) portion of the claim to $0. The claimant entered the same amount, $33,631.37, into both the §503(b)(9) and §507(a)(2) sections of the Proof of Claim. The Proof
    of Claim does provide support for the §503(b)(9) amount of $33,631.37, but provides no further support for an additional §507(a)(2) amount. It does not appear that the claimant intends to claim an
    additional $33,631.37 with a §507(a)(2) status, nor do the Debtors' books and records agree to such an additional amount. Modify the Priority portion of the claim to $0. The claimant entered the same
    amount, $33,631.37, into both the §503(b)(9) and Priority sections of the Proof of Claim. The Proof of Claim does provide support for the §503(b)(9) amount of $33,631.37, but provides no further support
    for an additional Priority amount. It does not appear that the claimant intends to claim an additional $33,631.37 with a Priority status, nor do the Debtors' books and records agree to such an additional
    amount.
8   LEVEL 3 COMMUNICATIONS LLC               C343-41      Boy Scouts of America               Unsecured                    $3,688.38 Boy Scouts of America                 Unsecured                       $3,483.47
    C/O CENTURYLINK
    COMMUNICATIONS
    LEGAL BKY
    ATTN: KIM BARTLETT
    1025 ELDORADO BLVD
    BROOMFIELD, CO 80021


    Reason: According to the Debtors' Books and Records, the valid claim amount is $3,483.47. Invoice 89206203 has a total amount of $5,942.39, and the claimant estimated $3,688.38 of that invoice to be
    prepetition, and so filed a claim for that estimated prepetition amount. However, the Debtor determined the prepetition amount to be $3,483.47. The remaining amount of $2,458.92 determined by the
    Debtor to be postpetition was paid in full via check no. 01345203 on 3/11/2020. Therefore, the claim should be reduced to $3,483.47, which is the remaining unpaid portion of the invoice.
9   LEVEL 3 TELECOM HOLDINGS INC             C343-42      Boy Scouts of America               Unsecured                      $275.24 Boy Scouts of America                 Unsecured                        $137.62
    C/O CENTURYLINK
    COMMUNICATIONS
    LEGAL BKY
    ATTN: KIM BARTLETT
    1025 ELDORADO BLVD
    BROOMFIELD, CO 80021


    Reason: According to the Debtors' Books and Records, the valid claim amount is $137.62. Invoice 89481210 has a total amount of $3,991.03, and the claimant estimated $275.24 of that invoice to be
    prepetition, and so filed a claim for that estimated prepetition amount. However, the Debtor determined the prepetition amount to be $137.62. The remaining amount of $3,853.41 determined by the Debtor
    to be postpetition was paid in full via check no. 01345215 on 3/11/2020. Therefore, the claim should be reduced to $137.62, which is the remaining unpaid portion of the invoice.

    * Indicates claim contains unliquidated and/or undetermined amounts
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                                                                         Second Omnibus Objection (Substantive)
                                                                          Schedule 5 - Reduce and Allow Claims
                                                                                REDUCE AND ALLOW CLAIM ASSERTED                                                     MODIFIED
   NAME                                    CLAIM#                   DEBTOR                   PRIORITY             AMOUNT                         DEBTOR                PRIORITY               AMOUNT
                                                                                              STATUS                                                                    STATUS
10 MATTHEWS INTERNATIONAL                  C343-72      Boy Scouts of America               Unsecured                  $12,870.00 Boy Scouts of America                 Unsecured                      $1,687.87
   ATTN: THOMAS ADAMCZYK
   2 NORTHSHORE CTR
   PITTSBURGH, PA 15212


   Reason: According to the Debtors' Books and Records, the valid claim amount is $1,687.87. Invoice 93693431 was claimed in the amount of $12,870, of which $11,182.13 was determined by the Debtor to
   be postpetition. That postpetition portion was paid in full via check no. 01346775 on 6/10/2020. Therefore, the claim should be reduced by that paid amount.
11 MCLANE MIDDLETON                        C343-4732 Boy Scouts of America                  Unsecured                  $16,033.18 Boy Scouts of America                 Unsecured                   $15,469.20
   PROFESSIONAL ASSOCIATION
   ATTN: JOSEPH A FOSTER
   900 ELM ST
   P.O. BOX 326
   MANCHESTER, NH 03105


   Reason: According to the Debtors' Books and Records, the valid claim amount is $15,469.20. Invoice 2020031281 was claimed in the amount of $1,265.48, of which $563.98 was determined by the Debtor
   to be postpetition. That postpetition portion was paid in full via ACH no. 00000988 on 10/21/2020. Therefore, the claim should be reduced by that paid amount.
12 PLANT INTERSCAPES INC, DBA              C343-147     Boy Scouts of America               Unsecured                    $1,434.73 Boy Scouts of America                Unsecured                       $592.12
   NATURA
   ATTN: JANICE MARIE CONFER
   6436 BABCOCK RD
   SAN ANTONIO, TX 78249


   Reason: According to the Debtors' Books and Records, the valid claim amount is $592.12. The claimant provided supporting documentation in the amount of $1,252.56, and has asserted via email that the
   remaining $182.17 can be reduced from the original claimed amount. Postpetition invoice INV00320909 was claimed in the amount of $339.69, and was paid in full via check no. 01346435 on 6/3/2020.
   Postpetition invoices INV00320910 and INV00320908 were claimed in the amounts of $197.30 and $123.45, respectively, and were paid in full via check no. 01345957 on 5/6/2020. Therefore, the claim
   should be further reduced by those paid amounts.
13 SOUTHEASTERN CHEMICAL CO INC C343-408                Boy Scouts of America               503(b)(9)                    $3,556.00 Boy Scouts of America                503(b)(9)                         $0.00
   ATTN: LINDA MAYS
   406 TEMPLE ST                                                                                                                     Boy Scouts of America              Unsecured                      $2,720.00
   BECKLEY, WV 25801
                                                                                                                                                                        Subtotal                       $2,720.00

   Reason: According to the Debtors' Books and Records, the valid claim amount is $2,720. Invoice 36519 was claimed in the amount of $836. The Debtors contacted the claimant regarding this invoice, and
   the claimant determined that the invoice is a duplication and is not valid. Therefore, the claim should be reduced by this invalid amount.
14 SUNTREAT                                C343-274     Boy Scouts of America               503(b)(9)              Undetermined* Boy Scouts of America                  503(b)(9)                         $0.00
   P.O. BOX 562
   HURLEY, NM 88043                                     Boy Scouts of America               Unsecured                 $18,750.00* Boy Scouts of America                 Unsecured                   $18,750.00

                                                                                            Subtotal                  $18,750.00*                                       Subtotal                    $18,750.00

   Reason: The claim amount should be liquidated with a $18,750.00 Unsecured portion, and a $0 §503(b)(9) portion. According to the Debtors' Books and Records the liability asserted under the
   administrative priority under 11 U.S.C §503(b)(9) has no legal basis as the invoice level detail shows that the goods were not received by the debtor within 20 days preceding the petition date, which
   makes this claim ineligible for §503(b)(9) status.

   * Indicates claim contains unliquidated and/or undetermined amounts
                                                                                                                                                                                         Page 3 of 4
                                                    Case 20-10343-LSS                 Doc 2020-1            Filed 02/03/21           Page 24 of 24
                                                                         Second Omnibus Objection (Substantive)
                                                                          Schedule 5 - Reduce and Allow Claims
                                                                                REDUCE AND ALLOW CLAIM ASSERTED                                                      MODIFIED
   NAME                                     CLAIM#                   DEBTOR                  PRIORITY             AMOUNT                         DEBTOR                 PRIORITY               AMOUNT
                                                                                              STATUS                                                                     STATUS
15 SUPPLYONE ROCKWELL, INC.                 C343-1334 Boy Scouts of America                 503(b)(9)                   $15,608.39 Boy Scouts of America                 503(b)(9)                    $15,608.39
   BRIAN J. SABIN
   CAPES SOKOL                                           Boy Scouts of America              Priority                    $15,608.39 Boy Scouts of America                 Priority                          $0.00
   8182 MARYLAND AVE, FIFTEENTH
   FLOOR                                                                                    Subtotal                    $31,216.78                                       Subtotal                     $15,608.39
   ST. LOUIS, MO, 63105


   Reason: Modify the Priority portion of the claim to $0. The claimant entered the same amount, $15,608.39, into both the §503(b)(9) and Priority sections of the Proof of Claim. The Proof of Claim does
   provide support for the §503(b)(9) amount of $15,608.39, but provides no further support for an additional Priority amount. It does not appear that the claimant intends to claim an additional $15,608.39
   with a Priority status, nor do the Debtors' books and records agree to such an additional amount.


16 TIMA BRANDS INC                          C343-409     Boy Scouts of America              503(b)(9)               Undetermined* Boy Scouts of America                  503(b)(9)                         $0.00
   ATTN: SAMANTHA MCVEY
   9098 E MOHAWK LN                                      Boy Scouts of America              Unsecured                   $3,025.75* Boy Scouts of America                 Unsecured                         $0.00
   SCOTTSDALE, AZ 85255
                                                                                            Subtotal                    $3,025.75*                                       Subtotal                          $0.00

   Reason: Liquidate the §503(b)(9) portion of the claim at $0. According to the Debtors' Books and Records the liability asserted under the administrative priority under 11 U.S.C §503(b)(9) has no legal
   basis as the invoice level detail shows this claim is related to services rather than goods, which makes it ineligible for §503(b)(9) status.
17 WINGATE BY WYNDHAM 1-77 &                C343-333^ Boy Scouts of America                 503(b)(9)                    $1,286.16 Boy Scouts of America                 503(b)(9)                         $0.00
   TYVOLA
   CHARLOTTE AIRPORT SOUTH                               Boy Scouts of America              Priority                     $1,286.16 Boy Scouts of America                 Priority                          $0.00
   ATTN: TODD BLANTON
   6050 TYVOLA GLEN CIR                                                                     Subtotal                     $2,572.32 Boy Scouts of America                 Unsecured                      $1,286.16
   CHARLOTTE, NC 28217
                                                                                                                                                                         Subtotal                       $1,286.16

   Reason: According to the Debtors' Books and Records, the valid claim amount is $1,286.16. The claimant asserted $1,286.16 under both §503(b)(9) status and §507(a) status, which resulted in a total claim
   amount of $2,572.32. The invoice detail provided by the claimant supports a total claim amount of $1,286.16, and the Debtors' Books and Records agree to that amount.
   ^ Claim No. C343-333 is also included as a Misclassified Claim on Schedule 4 to the Proposed Order attached as Exhibit A to the Debtors’ Second Omnibus (Substantive) Objection filed
   contemporaneously herewith.
                                                         TOTAL                                                       $ 229,506.20* TOTAL                                                         $ 143,423.85*




   This Schedule contains certain redactions to personal contact information in compliance with the confidentiality procedures, as set forth in the Final Order (I) Authorizing Debtors to File (A)
   A Consolidated List of Counsel Representing the Largest Numbers of Abuse Victims and (B) A Consolidated List of Other Unsecured Creditors of the Debtors, (II) Authorizing and
   Approving Special Noticing and Confidentiality Procedures, and (III) Granting Related Relief [D
                                                                                                 [Docket No. 274].

   * Indicates claim contains unliquidated and/or undetermined amounts
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